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                 IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                    NO.    4:05CR00109-10 JLH

CALVIN BROWN                                                                       DEFENDANT


                                            ORDER

       Defendant Calvin Brown has filed a Motion for Reconsideration of Detention, or in the

alternative, for Acceleration of Sentencing Hearing (Docket #410). The motion is granted in part

and denied in part. The request for reconsideration of detention is denied, however, the Court will

proceed with setting defendant’s sentencing date by separate notice.

       IT IS SO ORDERED this 12th day of July, 2006.




                                             _________________________________________
                                             J. LEON HOLMES
                                             UNITED STATES DISTRICT JUDGE
